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       UNITED STATES COURT OF APPEALS FOR THE THIRD CIRCUIT

                                                                          ECO-041

                                     No. 20-2936


COUNTY OF BUTLER; COUNTY OF FAYETTE; COUNTY OF GREENE; COUNTY
  OF WASHINGTON; NANCY GIFFORD; MIKE GIFFORD, husband and wife doing
    business as Double Image Styling Salon; PRIMA CAPELLI INC, a Pennsylvania
    Corporation; MIKE KELLY; MARCI MUSTELLO; DARYL METCALFE; TIM
BONNER; STEVEN SCHOEFFEL; PAUL F. CRAWFORD, trading and doing business
 as Marigold Farm; CATHY HOSKINS, trading and doing business as Classy Cuts Hair
Salon; RW MCDONALD & SONS INC; STARLIGHT DRIVE IN LLC, a Pennsylvania
  Corporation; SKYVIEW DRIVE IN LLC, a Pennsylvania Limited Liability Company

                                          v.

       GOVERNOR OF PENNSYLVANIA; SECRETARY PENNSYLVANIA
                     DEPARTMENT OF HEALTH,
                            Appellants


                            (W.D. Pa. No. 2-20-cv-00677)


Present: SMITH, Chief Judge, CHAGARES and SHWARTZ, Circuit Judges

      1. Motion filed by Appellants Governor of Pennsylvania and Secretary
         Pennsylvania Department of Health for Stay of the District Court’s Order
         Pending Appeal.

      2. Response filed by Appellees County of Butler, et al. to Motion for Stay of the
         District Court’s Order Pending Appeal.

      3. Unopposed Motion filed by Appellants Governor of Pennsylvania and
         Secretary Pennsylvania Department of Health to accept Motion for Stay of the
         District Court’s Order Pending Appeal that is in excess of word limit.

      4. Motion filed by the Leaders of the Pennsylvania House of Representatives for
         leave to file a Brief as Amici Curiae in Support of Appellees’ Opposition to
         Motion for Stay of the District Court’s Order Pending Appeal.
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      5. Motion filed by Eagle Forum Education & Legal Defense Fund for leave to file
         Brief as Amicus Curiae in Support of Appellees’ Opposition to Motion for
         Stay of the District Court’s Order Pending Appeal.

                                                      Respectfully,
                                                      Clerk/LMR

_________________________________ORDER________________________________
The motion by Appellants for stay of the District Court’s order pending appeal is
GRANTED. The unopposed motion by Appellants to file a stay motion in excess of the
word limit is GRANTED. The motions by Leaders of the Pennsylvania House of
Representatives and Eagle Forum Education & Legal Defense Fund for leave to file
briefs as Amici Curiae in support of Appellees’ opposition to the motion for a stay are
GRANTED.


                                                      By the Court,

                                                      s/ D. Brooks Smith
                                                      Chief Judge
Dated: October 1, 2020
Lmr/cc: All Counsel of Record




                                              A True Copy :



                                                   Patricia S. Dodszuweit, Clerk
